             Case 2:25-mj-00525-DUTY                        Document 3              Filed 02/11/25         Page 1 of 2 Page ID #:65
AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means                      Original        Duplicate Original



                                           UNITED STATES DISTRICT COURT
                                                                             for the
                                                                                                                             2/11/2025
                                                               Central District of California
                                                                                                                                      MMC

                         In the Matter of the Search of                         )
          United States Postal Service (“USPS”) parcels                         )
                                                                                )       Case No.
          seized from the mail stream between January 28,
          2025 and January 31, 2025, as further described in                    )
          Attachment A                                                          )
                                                                                )
                                                                                )
                                                                                )

                  WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       Any authorized law enforcement officer
          An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identify the person or describe the property to be searched
and give its location):

       See Attachment A

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

       See Attachment B

       Such affidavit(s) or testimony are incorporated herein by reference.

          YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (not to exceed 14 days)
            in the daytime 6:00 a.m. to 10:00 p.m.                 at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office.
          Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
            for       days (not to exceed 30)           until, the facts justifying, the later specific date of                                  .


Date and time issued:
                                                                                                               Judge’s signature

City and state:              Los Angeles, CA                                                The Hon. Alicia G. Rosenberg, U.S.M.J.
                                                                                                             Printed name and title

AUSA:             Matt Coe-Odes (x8957)
             Case 2:25-mj-00525-DUTY                        Document 3                Filed 02/11/25    Page 2 of 2 Page ID #:66
AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means (Page 2)
(Page 2)
                                                                              Return
Case No.:                                 Date and time warrant executed:                    Copy of warrant and inventory left with:
 2:25-MJ-00525                    02/07/2025 / 10:20 AM                                        USPS
Inventory made in the presence of :
  USPIS R. Alvarez
Inventory of the property taken and name of any person(s) seized:

   EI 229 945 492 US
   $6,000 US Currency
   Parcel wrappings

   EI 911 643 558 US
   $11,000 US Currency
   Parcel wrappings
   ER 134 456 534 US
   Nothing seized

   9505 5163 2182 5030 3960 41
   Nothing seized
   ER 121 985 921 US
   Nothing seized

   EI 991 827 615 US
   $27,000 US Currency
   Parcel wrappings
    EI 979 728 322 US
    Nothing seized

    EI 329 267 096 US
    Nothing seized
    9505 5113 3042 5028 9022 97
    Nothing seized

    EI 504 095 603 US
    $10,000 US Currency
    Parcel wrappings

                                                                          Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:      2/11/2025
                                                                                                    Executing officer’s signature

                                                                                  Zachary Sumpter, USPIS TFO
                                                                                                       Printed name and title
